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                IN THE UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS
                         HOUSTON DIVISION

UNITED STATES OF AMERICA

v.                                                               Cr. No. H-23-0413

ABIGAIL JO SHRY

                 UNOPPOSED MOTION TO AMEND BOND

      Defendant, Abigail Jo Shry, moves this Court to amend her bond conditions

to remove home detention and to add a curfew, and respectfully shows as follows:

      Ms. Shry is charged with threat by interstate communication in violation of

18 U.S.C. § 875(c). In September 2023, she entered and successfully completed an

inpatient substance-abuse treatment program. In November 2023, she was released

on bond with a condition of home incarceration and intensive outpatient treatment.

In December 2023, her supervision was reduced to home detention with GPS

monitoring.

      Ms. Shry is requesting to remove home detention as a condition of her bond,

and to reduce her supervision to a curfew to be set by pretrial services. This will

assist her in finding employment and with arranging transportation to her necessary

appointments. Removing home detention will also appropriately reduce the

resources required from pretrial services for her supervision.
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 The government and pretrial services are unopposed to this motion.

                                Respectfully submitted,

                                MARJORIE A. MEYERS
                                Federal Public Defender
                                Southern District of Texas No. 3233
                                Texas State Bar No. 14003750

                                By /s/ Amr A. Ahmed
                                AMR A. AHMED
                                Assistant Federal Public Defender
                                Southern District of Texas No. 3088803
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                                440 Louisiana, Suite 1350
                                Houston, TX 77002-1056
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                     CERTIFICATE OF CONFERENCE

      I certify that I conferred with Assistant United States Attorney Richard Hanes

and United States Pretrial Officer Isabel Davila and determined that the United

States and Pretrial are unopposed to this motion to amend bond.

                                      By /s/ Amr A. Ahmed
                                      AMR A. AHMED

                         CERTIFICATE OF SERVICE

       I certify that on January 30, 2024, a copy of the foregoing was served by

Notification of Electronic Filing and will be delivered by email to the office of

Assistant United States Attorney Richard Hanes and United States Pretrial Officer

Isabel Davila.

                                      By /s/ Amr A. Ahmed
                                      AMR A. AHMED




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